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                             UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON


Stephen Wright,                               )
Sarah Wright,                                 )
      Plaintiffs,                             )
                                              )
V.                                            )      Case:
                                              )
Charles Hanify,                               )
Rod Fleck,                                    )      Trial by Jury Demanded
James Salazar,                                )
Douglas Kresl,                                )
City of Forks,                                )
        Defendants.                           )


                                       Plaintiffs’ Complaint

Comes now the Plaintiffs pray for relief pursuant to 42 U.S.C. § 1983 and Title II of the
Americans with Disabilities Act.

The Plaintiffs pray this case to be an example for those public officials, who, while being ordered
to wear a mask, refuse to wear a mask during performance of their official duties pursuant to
RCW 70.05.120(4), who abuse their authority to protect one another from misconduct violations,
and who refuse to give disabled persons reasonable disability accommodations.

                                             I. Parties

     1. The Plaintiff is Stephen Wright, a resident of Clallam County, In the State of Washington.

        The Plaintiff, Stephen Wright, is a 35-year-old honorably discharged disabled veteran of
        the United States Army and Air Force, with no criminal history or even accusations up
        until interactions with the Defendants and the City of Forks occurring approximately in
        the past 40 days. The Plaintiff Stephen Wright has a diagnosed mental health disorder of
        PTSD and physical disabilities of the right shoulder and back.

     2. The Plaintiff Sarah Wright (née Holmes), a resident of Clallam County, In the State of
        Washington.

     3. The Defendant is James Salazar, a resident of Clallam County, in the state of
        Washington. The Defendant, James Salazar, is a public official acting under color of law
        for the city of Forks, Washington.

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   4. The Defendant is Rod Fleck, a resident of Clallam County, in the state of Washington.
      The Defendant, Rod Fleck, is a public official acting under color of law for the city of
      Forks, Washington.

   5. The Defendant is Charles Hanify, a resident of Clallam County, in the state of
      Washington. The Defendant, Charles Hanify, is a public official acting under color of law.

   6. The Defendant is Douglas Kresl, a resident of Clallam County, in the state of
      Washington. The Defendant, Douglas Kresl, is a public official acting under color of law.

   7. The Defendant is the City of Forks, an incorporated City in the state of Washington.

                               II. Venue, Jurisdiction, and Jury

   1. Venue is proper pursuant to 28 U.S. Code § 1391(b)(1)

   2. Jurisdiction is proper pursuant to 42 U.S. § 1983

   3. Jury Demanded. Jury demand is proper pursuant to the Seventh Amendment to the
      United States Constitution, the amount prayed for by Plaintiffs is more than $20.

                                   III. Deprivation of Rights

   1. The Defendant, James Salazar, deprived of their right to procedural due process, the
      right to equal protection of the laws, and the right to safety, while acting under color
      of law, pursuant to 42 U.S. § 1983. James Salazar’s conduct is shown to be motivated
      by evil motive or intent and his actions involve reckless or callous indifference to the
      federally protected rights of others.

       Count 1:
       The Defendant, Jame Salazar, deprived the Plaintiff Stephen Wright of due process by
       manufacturing probable cause evidence for a crime and thereafter utilizing said
       manufactured evidence to hold Plaintiff Wright accountable for a crime which Officer
       Salazar knew he did not commit. The Plaintiff, Stephen Wright, had a right to due
       process that included factual information to be used and acted upon.
       This includes pictures of cameras claimed to be pointed at 1171 Bogachiel, but photos
       do not reflect this. Officer Salazar refused to view the camera feeds and instead took
       photos at angles to make it appear as though what he claimed was true when it was not.
       This includes Pictures of 1161 Bogachiel porch and misrepresented as 1171 Bogachiel.
       This includes enforcing a border dispute against Clallam County regulations and outside
       of his jurisdiction, and therefrom charging the Plaintiff with crimes associated with
       violations of a no contact order by declaring without jurisdiction the yard space in dispute
       is Danielle Hutchinson’s and those crimes occurred 1171 Bogachiel and as result of the

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       boundary being misrepresented with a portion of our porch as Danielle Hutchinson’s
       without legal dispute.

       Count 2:
       The Defendant, Officer Salazar, has made multiple false reports, and the deprived the
       Plaintiffs of equal protections under the due process of law. The process of making a
       police report must include factual statements, and non factual statements puts the
       Plaintiffs at unnecessary risk of being affected by the corruption of the judicial functions
       and thus unequal protection that would otherwise derived from factual reporting.

       Count 3:
       The Defendant, Jame Salazar, deprived the Plaintiff, Stephen Wright, of due process by
       manufacturing evidence to support probable cause for a crime and thereafter utilizing
       said manufactured evidence to hold Plaintiff Wright accountable for a crime which Officer
       Salazar knew he did not commit. This includes making false reports of Stephen Wright
       being at 1171 Bogachiel Way on multiple accounts when Stephen Wright has not been at
       1171 Bogachiel Way since February 5, 2021 during a friendly exchange. The Plaintiff,
       Stephen Wright, has a right to due process that includes the utilization of factual
       evidence in criminal proceedings.

       Count 4:
       The Constitution gives states inherent "police power" to protect public health and safety.
       It is a broad power; however, the 14th Amendment prevents states from infringing on
       "the privileges or immunities of citizens of the United States" without due process of law.
       The Defendant, James Salazar, was ordered by the governor to wear a mask while on
       duty, and thereafter James Salazar refused this order and in that process infringed upon
       the Plaintiffs’ privileges that includes acting within the bounds of the law to protect the
       citizens by wearing a mask when ordered to. This act of deprivation occurred on
       3/26/2021 at the Defendants home, while Stephen Wright was inside his home, with
       James Salazar standing within inches of the Defendants at their enclosed porch.The
       Plaintiffs’ right to equal protection of the laws was deprived by these acts laid out in
       Count 4.

       Count 5:
       The Constitution gives states inherent "police power" to protect public health and safety.
       It is a broad power; however, the 14th Amendment prevents states from infringing on
       "the privileges or immunities of citizens of the United States" without due process of law.
       The Defendant, James Salazar, was ordered by the governor to wear a mask while on
       duty, and thereafter James Salazar refused this order and in that process infringed upon
       the Plaintiffs’ privileges that includes acting within the bounds of the law to protect the
       citizens by wearing a mask when ordered to, and the privilege of safety that is derived
       from that. This act of deprivation occurred on 4/30/2021. James Salazar cornered the
       Plaintiff Stephen Wright, charging at the Plaintiff without wearing a mask and arresting
       the Plaintiff, Stephen Wright, once cornered at his vehicle. Thereafter James Salazar

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       refused to wear a mask while in the vehicle with the Plaintiff Stephen Wright and the
       Plaintiff Stephen Wright had been cuffed and restrained and was unable to remove
       himself from the threat of infection deriving from James Salazar. This act occurred at the
       town’s only coronavirus check-in, in the parking lot of a clinic. The Plaintiff Stephen
       Wright's right to equal protection of the laws was deprived by these acts laid out in
       Count 5.

       Count 6:
       The Defendant, James Salazar, deprived the Plaintiff Stephen Wright of his right to due
       process when the Defendant James Salazar arrested the Plaintiff Stephen Wright absent
       probable cause on April 30th 2021 at 10:26am.

       Count 7:
       The Defendant, James Salazar, deprived the Plaintiff Stephen Wright of his right to due
       process when the Defendant James Salazar arrested the Plaintiff Stephen Wright for
       resisting arrest, whereas the Plaintiff had a lawful right to keep himself distanced for
       safety when the arresting officer James Salazar was not wearing a mask. The Defendant
       James Salazar was not allowed to arrest the Plaintiff until he wore a mask because the
       Defendant James Salazar was required TO NOT BE within 6 feet of the Plaintiff Stephen
       Wright WITHOUT A MASK ON per the Governor Inslee’s orders. The process in the due
       process of arrest in Washington includes: to wear a mask, to perform duties, Officer
       Salazar chose to only perform SOME duties.

       Count 8:
       The Defendant, James Salazar, deprived the Plaintiff Stephen Wright of his right to due
       process when the Defendant James Salazar arrested the Plaintiff Stephen Wright with
       driving with a suspended license in the 3rd, whereas the Plaintiff had a lawful right to
       keep himself distanced for safety when the arresting officer James Salazar was not
       wearing a mask. The Defendant James Salazar was not allowed to arrest the Plaintiff
       until he wore a mask because arresting the Plaintiff required TO NOT BE within 6 feet of
       the Plaintiff Stephen Wright WITHOUT A MASK ON per the Governor Inslee’s
       orders.The process in the due process of arrest includes wearing a mask prior to
       engaging with anyone less than 6 feet away, and Governor Inslee made no exception for
       this type of arrest when giving this order.

       Count 9:
       The Defendant, James Salazar, deprived the Plaintiff Stephen Wright of his right to due
       process when the Defendant James Salazar arrested the Plaintiff Stephen Wright on
       3/26/2021 at his front door, whereas the Plaintiff had a lawful right to keep himself
       distanced for safety when the arresting officer James Salazar was not wearing a mask.
       The Defendant James Salazar was not allowed to arrest the Plaintiff until he wore a
       mask because arresting the Plaintiff required TO NOT BE within 6 feet of the Plaintiff
       Stephen Wright WITHOUT A MASK ON per the Governor Inslee’s orders. The process
       in the due process of arrest includes wearing a mask prior to engaging with anyone less

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       than 6 feet away, and Governor Inslee made no exception for this type of arrest when
       giving this order.

       Count 10:
       The Defendant, James Salazar, deprived the Plaintiff Stephen Wright of his right to due
       process when the Defendant James Salazar arrested the Plaintiff Stephen Wright for
       having a suspended license in the 3rd and the Plaintiff Stephen Wright having no prior
       knowledge of license suspension, and the arresting officer having that knowledge
       sometime prior after searching the Plaintiff’s name in his absence, and allowed the
       Plaintiff Stephen Wright to continue to break the law for an unknown period of time.
       Officer Salazar, in supposed written testimony in court, read by the judge on 5/3/2021
       that I have not been allowed to see, Officer Salazar claims to have ran my name prior to
       the arrest and that gave him probable cause for a traffic stop and seizure; the videos
       provided in this complaint do not reflect this. The law protects its people, and not
       enforcing the law, as well as acts of selective enforcement, put the Plaintiff and the
       public at risk. If the Plaintiff Stephen Wright had gotten into a wreck, the consequences
       of that would be greatly impacted by not having a valid license and would affect his
       ability to regain his ability to drive within the current prescribed time (currently unknown).
       It was a a deprivation of due process to allow the Plaintiff to drive, unknowingly, with a
       suspended license until Officer Salazar found an opportune time, such as while assisting
       the Hutchinson’s with putting a fence through the Plaintiffs’ porch on the same day
       (friday) as the arrest of April 30th, 2021 and while officer Salazar arrested the Plaintiff on
       Bogachiel Way, only a few blocks from the residences 1161/1171 Bogachiel. Officer
       Salazar, in the application of knowledge, delayed that application of enforcement and
       that delay could have reasonably harmed the Plaintiff Stephen Wright and the public.
       The Plaintiff Stephen Wright had a right to be protected, under equal protection of the
       law, from the misuse and abuse of government authority, and Officer Salazar abused
       and misused his authority to intentionally deprive the Plaintiff Stephen Wright of that
       right.

       Count 11:
       James Salazar used force against Plaintiff Stephen Wright on 4/302021 absent cause
       pursuant to RCW 9A.16.020. This deprived the Plaintiff Stephen Wright of protection
       from both physical harm and threat of catching a contagious disease afforded by equal
       protections of the law to include Governor Inslee's mask mandate order that had clear
       intent to stop such contagious disease and keep the public safe.

       Count 12:
       The Defendant, James Salazar, deprived the Plaintiff, Stephen Wright of his
       rights, protected by the Fourth Amendment to the United States Constitution, to
       be secure in his persons and effects, against unreasonable searches and
       seizures. On April 30th 2021, the Defendant blocked the Plaintiff’s vehicle in a
       parking lot with his police cruiser, arrested the Plaintiff without probable cause,
       and thereafter used retroactive probable cause derived from evidence gathered
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       after arrest to press charges. The Plaintiff, Stephen Wright, was complying and
       retrieving his insurance and ID as asked when The Defendant, James Salazar,
       lunged at the Plaintiff grabbing his hip and twisting his right arm backwards.
       Thereafter the Defendant made a false report to include changing the arrest time
       to conceal the misconduct.

       Count 13:
       The Defendant, James Salazar, did not make an arrest under RCW 26.50.110 in
       good faith and without malice pursuant to RCW 26.50.140 and thereby deprived
       the Plaintiff, Stephen Wright of his right to equal protections afforded by law.

       Count 14:
       On March 26th, 2021, The Defendant deprived the Plaintiffs of property without
       due process.

       Count 15:
       On March 26th, 2021, The Defendant deprived the Plaintiffs of the right to equal
       protections under the law by refusing to stop Voyeurism from occurring against
       the Wrights’ at their residence.


   2. Defendant Rod Fleck deprived the Plaintiff, Stephen Wright, of his right to procedural
      due process, the right to equal protection of the laws, and the right to safety, while
      acting under color of law, pursuant to 42 U.S. § 1983. James Salazar’s conduct is
      shown to be motivated by evil motive or intent and his actions involve reckless or callous
      indifference to the federally protected rights of others.

       Count 1:
       The Defendant, Rod Fleck, approved an arrest against Stephen Wright on March 26th,
       utilizing probable cause of evidence known to be false by public record and against
       physical evidence already provided. The Plaintiff, Stephen Wright, has a right to be
       presented with FACTUAL evidence in criminal proceedings, and Rod Fleck has deprived
       the Plaintiff Stephen Wright of this basic and fundamental right of due process laid out in
       the Fourteenth Amendment to the United States Constitution. Rod Fleck reviewed
       Danielle Hutchinsons 911 call, made on March 25th, and thereafter misrepresented that
       call to find a violation of no contract had occurred when one had not for March 26, 2021
       at 10am.

       Count 2:
       The Defendant, Rod Fleck, was responsible for Police Chief Mike Rowley not being
       properly advised regarding the mandatory mask laws, and that negligence deprived the



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       Plaintiffs of their right to be protected under the equal protections of the law regarding
       mask mandates ordered by the governor.




   3. Defendant Charles Hanify deprived the Plaintiffs of their right to procedural due
      process, while acting under color of law, pursuant to 42 U.S. § 1983. Charles Hanify
      acted outside of his jurisdiction while acting under color of law.

       Count 1:
       The Defendant, Charles Hansley, would not allow the Plaintiffs to present their case on
       4/1/2021, case# CV-21-233. The Plaintiffs were on the docket for 4/1/2021 and present.
       The Plaintiffs had a right to due process, as laid out in the Fourteenth Amendment to the
       United States Constitution to include presentation and they were purposely deprived of
       these rights by Charles Hanify, the presiding judge.

       Count 2:
       The Defendant, Charles Hansley, granted an application for restraining against Plaintiff
       Sarah Wright, finding Sarah Wright guilty of unlawful harassment, when no application or
       request for restraint had been made and no evidence Sarah Wright had committed
       unlawful harassment where evidence is a strict requirement, and while Plaintiff Sarah
       Wright was not given any due process to dispute prior to order. 4/1/2021, case
       CV-21-230. The Plaintiffs were on the docket for that day for CV-21-233.

       Count 3:
       The Defendant, Charles Hansley, approved and granted orders of no contact for
       Daniielle Hutchinson, after having reviewed Danielle Hutchinson’s application for no
       contact orders. The Defendant, Charles Hansley, was well aware that Danielle
       Hutchinson claimed to be a vulnerable adult, and there was no signature
       endorsement from her care provider. The Defendant, Charles Hansley, knew Danielle
       Hutchinson’s Application for emergency no contact orders did not meet the lawful
       requirements to be approved, nor did they meet the requirements to be responded to
       thereafter. The Defendant, Charles Hansley, purposefully allowed Danielle Hutchinson to
       misrepresent information on an application for emergency no contact orders to include
       she is a vulnerable adult and protected Danielle Hutchinson from being required to have
       a caregiver endorse the application.

       Count 4:
       The Defendant, Charles Hansley, found probable cause for arrest on 4/1/2021 for events
       of 3/26/2021 when no evidence of probable cause was available or approved until
       4/5/2021, nor did any officer give any sworn testimony or provide any sworn documents
       to attest to the probable cause in court on 4/1/2021. The Defendant, Stephen Wright had
       a right to due process, as laid out in the Fourteenth Amendment to the United States
       Constitution to include being able to view the evidence of probable cause, to dispute the

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       evidence of probable cause, and to question the evidence probable cause, to question
       the officer (since he did not swear to the probable cause on any document) and Charles
       Hansley purposely and with malicious intent deprived Stephen Wright of said rights
       through use of lawful authority while acting under color of law. Stephen Wright has a
       right to due process, and under equal protection of the law, and that protection extends
       to the application of the law and the justifications of those applications and enforcements
       therefrom

       Count 5:
       The Defendant, Charles Hanify, deprived the Plaintiff Stephen Wright of his right to
       procedural due process by finding probable cause on violation of no contact order by
       asserting property where the accused violation occurred is Danielle Hutchinson’s, while
       Danielle Hutchinson is engaged in a border dispute with Plaintiffs. The Superior Court
       of Clallam County has exclusive jurisdiction of border disputes in Clallam County,
       and the Defendant Charles Hanify acted outside of his jurisdiction when making
       probable cause findings. The Plaintiffs have a case open in Superior Court of Clallam
       County with subject matter pertaining to border dispute with Danielle Hutchinson.

       Count 6:
       The Defendant, Charles Hansley, found probable cause for arrest on 4/1/2021 for
       3/26/2021 when no evidence of probable cause was available or approved until
       4/5/2021, nor did any officer give any sworn testimony or provide any sworn documents
       to attest to the probable cause in court on 4/1/2021. The Defendant, Stephen Wright had
       a right to due process, as laid out in the Fourteenth Amendment to the United States
       Constitution to include being able to view the evidence of probable cause, to dispute the
       evidence of probable cause, and to question the evidence probable cause, to question
       the officer (since he did not swear to the probable cause on any document) and Charles
       Hansley purposely and with malicious intent deprived Stephen Wright of said rights
       through use of lawful authority while acting under color of law.

   4. The Defendant Douglas Kresl deprived the Plaintiffs of their right to procedural due
      process, while acting under color of law, pursuant to 42 U.S. § 1983.

       Count 1:
       The Defendant, Douglas Kresl, was the Plaintiff Stephen Wright’s appointed public
       defender.The Defendant Douglas Kresl deprived the Plaintiff Stephen Wright of due
       process when the Defendant Douglas Kresl ordered the Plaintiff to not request any
       discovery, referring to discovery requests for an already filed torts claim of which the
       Defendant Douglas Kresl is not a party to or a representative for. The Defendant did this
       in court on 5/3/2021, in a manner which was intimidating, unnecessary.

       Count 2:
       The Defendant, Douglas Kresl, was the Plaintiff Stephen Wright’s appointed public
       defender on 5/3/2021, these events occurred in court hearing. The Plaintiff Stephen

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       Wright asked what probable cause the court had. The Defendant Douglas Kresl deprived
       the Plaintiff Stephen Wright of due process when the Defendant Douglas Kresl told the
       Plaintiff roughly to “shut up” “I do the talking” and thereafter did not question what
       evidence of probable cause was there to arrest, or when the officer ran the Plaintiff
       Stephen Wright’s name. Due to the Coronavirus Pandemic, all hearings are now
       video-audio recorded.




                       V. Title II of the Americans with Disabilities Act

   5. Record number 71150-MSM - Civil Rights Division.
      On April 30th 2021, The Defendant, James Salazar, an active duty police officer for the
      City of Forks, arrested the Plaintiff Stephen Wright.

       The Defendant, James Salazar, refused to provide a disability accommodation for the
       Plaintiff's right shoulder, specifically an accommodation to be cuffed in the front or
       alternative method of restraint. The Defendant and the assisting deputy found enjoyment
       in the pain and suffering of the Plaintiff as the Plaintiff witnessed them laughing at him
       while he pleaded for help and disability accommodation. The Plaintiff called for help to
       the other deputy, who replied, “if you stopped struggling you’d be fine.”

       The Defendant, James Salazar, refused to provide a disability accommodation for the
       Plaintiff's PTSD, specifically two different times. The first being the Defendant did not
       have to take the Plaintiff to jail or arrest him. Secondly, the Defendant knew of the
       Plaintiffs mental health disorder, and went against Washington state recommendations
       for alternatives for jailing people with mental health disorders.

       There was a reasonableness for accommodation, and the Defendant utilized the
       most painful and abusive course of action against the Plaintiff.

       Title II applies, but the reasonableness of the accommodation required must be
       assessed in light of the totality of the circumstances of a particular case."
       Williams v. City of New York, 121 F. Supp. 3d 354, 365” Sage v. City of Winooski,
       Case No. 2:16-cv-116, 7 (D. Vt. Mar. 22, 2017)

       In this particular case, it was more than reasonable to cuff the Plaintiff from the
       front, or otherwise reasonably restrain the Plaintiff with alternative methods. It
       was unreasonable for the Defendant to find enjoyment in the pain and suffering
       of the Plaintiff. It was unreasonable for the accommodation to be fully denied.

       In this particular case, Washington state recommends and provides clear
       instruction for officers who believe they must arrest and jail a person with mental

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       health disorders to include alternatives to jailing. It was unreasonable for the
       officer to choose to not even assess whether he should find alternatives to jailing,
       or even jail the Plaintiff in the first place.




                                             VI. Relief

                The Plaintiffs pray for relief, and that relief pray come as follows:

   1. The Plaintiff, Stephen Wright, prays each of the Defendants, excluding the City of Forks,
      be ordered to pay the Plaintiff, Stephen Wright, $50,000 in compensatory damages
      pursuant to 42 U.S. Code § 1983.

   2. The Plaintiff, Sarah Wright, prays the court will order the Defendant, Charles Hanify, to
      pay the Plaintiff Sarah Wright (nee Holmes) $50,000 in compensatory damages pursuant
      to 42 U.S. Code § 1983.

   3. The Plaintiffs pray the City of Forks, be ordered to pay Plaintiff Stephen Wright $200,000
      in compensatory damages pursuant to the Americans with Disabilities Act. Sage v. City
       of Winooski, Case No. 2:16-cv-116 (D. Vt. Mar. 22, 2017).

   4. The Plaintiffs pray each Defendant, excluding the City of Forks, be ordered to pay
       Plaintiff, Stephen Wright, $50,000 in punitive damages, pursuant to deprivation of rights
       claims,The Plaintiffs pray the Defendants be ordered to pay $25,000 in punitive
       damages, each, to each Plaintiff. A plaintiff is entitled to punitive damages if the jury
       finds that the defendant's conduct was reckless or callously indifferent to the
       federally protected rights of others or if the defendant was motivated by an evil
       intent. Smith v. Wade, 461 U.S. 30, 103 S. Ct. 1625, 75 L. Ed. 2d 632 [1983].

   5. The Plaintiffs pray the Defendants be ordered to pay for the Plaintiffs attorneys fees,
      if the Plaintiffs have counsel. The Civil Rights Attorney's Fee Awards Act of 1976 (42
      U.S.C.A. § 1988[b]). In addition, section 1988 does not require that the attorneys' fees
      awarded be in proportion to the amount of damages recovered (City of Riverside v.
      Rivera, 477 U.S. 561, 106 S. Ct. 2686, 91 L. Ed. 2d 466 [1986]).

   6. The Plaintiffs pray the court will hold the Defendant, James Salazar, accountable for
      refusing and neglecting to obey rules, regulations, or orders made for the prevention,
      suppression and control of dangerous contagious and infectious diseases pursuant to
      RCW 70.05.120(4), at least three violations as a result of not wearing a mask while
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       performing duties of his public position. The Defendant, James Salazar, not wearing the
       mandated masks during a rise in COVID cases in the City of Forks is especially
       dangerous for public health, hundreds could have been infected with COVID or another
       pathogen which would have the possibility to deteriorate a person's immune system
       making COVID contraction more dangerous in addition to possibly creating life
       threatening conditions to people with compromised immune systems, such as Sarah
       Wright/Holmes.


       I swear the foregoing is true and accurate to the best of my knowledge.




           _______
       _________________   Dated: 5/4/2021                                    Date 5/4/2021
                                                          _________________ Dated:
           hen Wrig
       Stephen Wright                                     Sarah Wright
       1161 Bogachiel Way,                                1161 Bogachiel Way,
       Forks, WA, 98331                                   Forks, WA, 98331




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                                       Case Brief
                         13-1-00541-8 Washington V. Joseph Mandoli
                                  Chelan County Superior Court
          Joseph Mandoli pled guilty to stealing copper and other metals and had an
         accomplice, of whom was not found guilty, of whom was tricked into assisting
          with a crime without their knowledge. Joseph “Joe” Mandoli has a criminal
         history of using and tricking people to achieve his illegal intents, including his
             accomplice who helped steal and load the stolen metals unknowingly.

                        20-2-02540-34 Wright V. Alyanse Properties
                                 Thurston County Superior Court
       Wrights praying for their deed. Mortgage lender refused payments after Plaintiffs
       had paid down payment and improved property to livable home. Joseph Mandoli
        did not complete the septic inspection which made it impossible to transfer the
       deed of the home, and therefore allowed Joseph Mandoli to keep the property by
       deceptive practices. James Salazar claims to be in contact with Joe Mandoli
        and repeats the same base class claim that the Fraudulent “Intent to Sell”
          claims, which is that the Plaintiffs are sellers and refers to the Wrights’ as
       tenants. Wrights filed for breach of contract and Joseph mandoli was served and
       did not respond in time and the Plaintiffs are now awaiting hearing for motion for
                                             default.

                               21-2-00207-05 Wright V. Hutchinson
                                   Clallam County Superior Court
         Wrights pray for mediation and commissioners to find lost property lines due to
          Defendants removing survey stakes and moving boundary line, and for relief
        from damages from Defendants taking building supplies and destroying parts of
         home claiming that Joe Mandoli gave them permission, and for relief from non
         economic damages for mental anguish derived from the sudden onset of false
        police reports that the Defendants’ used to ultimately have the Plaintiff Stephen
         Wright arrested for crimes he did not commit. Danielle Hutchinson and James
       Salazar began communicating with Joe Mandoli within days of the Wrights’
           receiving a fraudulent “Intent to Sell” their home from Joe Mandoli and
        reporting this to Officer Salazar who then misrepresented factual information on
       the police report, and thereafter began communicating details of the police report
       directly with Joe Mandoli. Danielle Hutchinsons’ father, Eric King, put his home
       up for sale in the middle of a remodel in California within days of the Wright

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       receiving a “Intent to sell”, left his home and moved in with Danielle Hutcinson
            next door to Wrights’, and thereafter the Hutchinson and King began a
          campaign of harassment of false police reports, with Eric King harassing the
        Plaintiffs claiming “You’re going to loose the house” and “thanks for all the work”

                                Terry v. Ohio, 392 U.S. 1 (1968)
                                 United States Supreme Court
       Under the Fourth Amendment of the U.S. Constitution, a police officer may stop a
       suspect on the street and frisk him or her without probable cause to arrest, if the
         police officer has a reasonable suspicion that the person has committed, is
        committing, or is about to commit a crime and has a reasonable belief that the
                     person "may be armed and presently dangerous."

                                     Summary Conclusion
          Joseph Mandoli, Danielle Hutchinson, Eric King, and James Salazar have all
             communicated and repeated the same baseless lie of the Wrights’ being
         squatters and the Wrights’ don’t have any property rights. James Salazar does
          not want Plaintiff Stephen Wright to become Mayor because investigation of
        Officer James Salazar’s misconduct will follow, and also because Officer Salazar
           doesn't want to wear a pink uniform or drive a pink smart vehicle if Stephen
                                     Wright becomes Mayor.

          Officer Salazar, of the Forks Police Department, flipped around and began to
        follow the Plaintiff, Stephen Wright, at 10:25am 04/30/2021. Officer Salazar had
        run the name of the Plaintiff (not his license, nor his vehicle) when an encounter
           had not yet occurred (Judge Hanify informed the Plaintiff it was how Officer
       Salazar obtained his probable cause for arrest, but declined to inform the Plaintiff
        when the Plaintiff’s name was run earlier that day opr why). Officer Salazar was
            provided the Plaintiff’s valid Oklahoma driver license after arrest, however
                already had knowledge that the Plaintiff’s Washington license was
             revoked/suspended in the 3rd, which the Plaintiffs did not have any prior
       knowledge of due to the ability to purchase a vehicle and automobile insurance in
         Stephen Wright’s name the previous month. Officer Salazar then cited that the
            violation occurred at 10:50am on 04/30/2021, served on the Plaintiff after
         booking the Plaintiff into jail. The time cited on the slip allowed Officer Salzar to
        further misrepresent that the Plaintiff’s information was run before being told he
               was “under arrest for driving suspended” at 10:26am the same day.
            Officer James Salazar misrepresented reasonable belief that the Plaintiff,
       Stephen Wright, was armed and dangerous to utilize retroactive probable cause,
                                known commonly as a “Terry Search”

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                                                .
                                       Videos in Support

   1. https://www.youtube.com/watch?v=vBRoBsjyqXg

   2.   https://www.youtube.com/watch?v=UrnAXdjva8Q&t=8s

   3. https://www.youtube.com/watch?v=7tOxW89QJoY

   4. https://www.youtube.com/watch?v=WWp26YTevpA

   5. https://www.youtube.com/watch?v=lg56hVpnTGc&t=19s

   6. https://www.youtube.com/watch?v=1_sfretKZB8




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5/5/2021                                                                                        Submission complete




                                                                      United States Department of Justice
                                                                             Civil Rights Division
                                                                                      civilrights.justice.gov



Thank you for submitting a report to the Civil Rights Division.

Report successfully submitted
Please save your record number for tracking.



              Your record number is: 71132-JHR




What to expect

  1    We review your report

        Our specialists in the Civil Rights Division carefully read every report to identify civil rights violations, spot trends, and determine if we have
        authority to help with your report.


  2    Our specialists determine the next step

        We may decide to:
           Open an investigation or take some other action within the legal authority of the Justice Department.
           Collect more information before we can look into your report.
           Recommend another government agency that can properly look into your report. If so, we’ll let you know.
                                                                                                                                                                    Case 3:21-cv-05332-BHS Document 1-1 Filed 05/05/21 Page 15 of 18




        In some cases, we may determine that we don’t have legal authority to handle your report and will recommend that you seek help from a private
        lawyer or local legal aid organization.


  3    When possible, we will follow up with you

        We do our best to let you know about the outcome of our review. However, we may not always be able to provide you with updates because:
https://civilrights.justice.gov/report/                                                                                                                       1/4
5/5/2021                                                                                    Submission complete
              We’re actively working on an investigation or case related to your report.
              We’re receiving and actively reviewing many requests at the same time.

        If we are able to respond, we will contact you using the contact information you provided in this report. Depending on the type of report, response
        times can vary. If you need to reach us about your report, please refer to your report number when contacting us. This is how we keep track of your
        submission.




What you can do next

  1    Contact local legal aid organizations or a lawyer if you haven’t already

        Legal aid offices or members of lawyer associations in your state may be able to help you with your issue.
            American Bar Association, visit www.findlegalhelp.org or call (800) 285-2221
            Legal Service Corporation (or Legal Aid Offices), visit www.lsc.gov/find-legal-aid or call (202) 295-1500


  2    Get help immediately if you are in danger

        If you reported an incident where you or someone else has experienced or is still experiencing physical harm or violence, or are in immediate
        danger, please call 911 and contact the police.




Your submission



Contact

Contact information
                                                                                                                                                                    Case 3:21-cv-05332-BHS Document 1-1 Filed 05/05/21 Page 16 of 18




Your name
stephen wright


Email address

https://civilrights.justice.gov/report/                                                                                                                       2/4
5/5/2021                                                            Submission complete
FST3503@GMAIL.COM


Phone number
3609992736


Address
1161 BOGACHIEL WAY
-
FORKS, Washington 98331


Are you now or have ever been an active duty service member?

No



Primary concern

What is your primary reason for contacting the Civil Rights Division?

Mistreated by police, correctional staff, or inmates


Does your situation involve physical harm or threats of violence?

Yes



Location

Did this happen while in custody or incarcerated?

No
                                                                                                Case 3:21-cv-05332-BHS Document 1-1 Filed 05/05/21 Page 17 of 18




Where did this happen?

Location name
Bogachiel Clinic

Address
https://civilrights.justice.gov/report/                                                   3/4
5/5/2021                                                                                 Submission complete
691 Bogachiel Way
-
Forks, Washington



Personal characteristics

Do you believe any of these personal characteristics influenced why you were treated this way?

Disability (including temporary or recovered and including HIV and drug addiction)



Date

When did this happen?

4/30/2021



Personal description

In your own words, describe what happened

refused disability accommodation, my right shoulder disability from injury line of duty, Officer Salazar refused disability accommodations to cuff
in front or find alternative method of restraint.
refused disability accommodation, my doctor diagnosed PTSD disability from injury line of duty, Officer Salazar refused disability
accommodations to include mental health accommodations instead of jail, which is actually encouraged in Washington RCW.
                                                                                                                                                           Case 3:21-cv-05332-BHS Document 1-1 Filed 05/05/21 Page 18 of 18




https://civilrights.justice.gov/report/                                                                                                              4/4
